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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY


   WELLS FARGO BANK, N.A.,                        Civil Action No.: 1:19-cv-00077-NLH-
                                                  KMW
                                    Plaintiff,

   v.

   COMMENTS SOLUTIONS, LLC
   and                                               DECLARATION OF ADAM
   FIRST LEGACY COMMUNITY                            BUSLER IN SUPPORT OF
   CREDIT UNION                                    REQUEST TO ENTER DEFAULT
                                                      AGAINST DEFENDANT
                                Defendants.        COMMENTS SOLUTIONS, LLC



        Pursuant to 28 U.S.C. § 1746, I, Adam Busler, hereby declare, based on personal

 knowledge, the following:


        1.     I am an associate attorney at the law firm of Fox Rothschild LLP in Atlantic City,

 New Jersey, and I am authorized to take this declaration on behalf of Plaintiff Wells Fargo Bank,

 N.A. (“Wells Fargo”).


        2.     I submit this declaration in support of Wells Fargo’s request for entry of default

 against Defendant Comment Solutions, LLC (“CS”), for failure to plead or otherwise defend with

 respect to Wells Fargo’s Complaint.


        3.     On January 3, 2019, Wells Fargo commenced this interpleader action by filing its

 Complaint.
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        4.     As set out in detail in the February 21, 2019 Affidavit of Service [Doc. No. 6],

 Wells Fargo served CS on February 13, 2019.


        5.     Under Federal Rules of Civil Procedure 12(a)(1)(A), CS was required to respond

 to Wells Fargo’s Complaint on or before March 7, 2019.


        6.     CS failed to plead or otherwise defend Wells Fargo’s Complaint on or before March

 7, 2019.


        7.     Neither Wells Fargo not the Court has granted CS an extension of time to respond

 to Wells Fargo’s Complaint.


        I declare under penalty of perjury that the foregoing is true and correct.



                                                      /s/ Adam Busler
                                                          Adam Busler




 Dated: March 14, 2019




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